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 9
10 Attorneys for Plaintiff,
11 Cynthia Green
12
                       IN THE UNITED STATES DISTRICT COURT
13                          FOR THE DISTRICT OF NEVADA
14
     Cynthia Green,
15
                      Plaintiff,                      Case No.: 2:20-cv-02004-RFB-DJA
16
17           vs.
18
     Equifax Information Services, LLC, et al.,
19
20                  Defendants.

21
22                            STIPULATION OF DISMISSAL
                        AS TO DEFENDANT ALLY FINANCIAL, INC
23
24
             IT IS HEREBY ORDERED that the above-captioned action be dismissed,
25
26 with prejudice, against Defendant Ally Financial Inc., with each party to bear its own
27
     attorneys’ fees and costs.
28

     115807807v1                                  1
       Case 2:20-cv-02004-RFB-DJA Document 33 Filed 05/11/21 Page 2 of 5



 1 May 11, 2020
 2                                              Respectfully submitted,
 3
 4                                              By: /s/ Kristie L. Fischer
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 6                                              Las Vegas, NV 89142
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 7                                              Email: Fischer.kristie@gmail.com
 8                                              Attorneys for Plaintiff,
                                                Cynthia Green
 9
10                                              /s/ Ethan G. Ostroff
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11
                                                Admitted Pro Hac Vice
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24                                              Counsel for Defendant,
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26                                              Gary E. Schnitzer
27                                              Nevada Bar Number 395
                                                KRAVITZ, SCHNITZER & JOHNSON
28

     115807807v1                            2
       Case 2:20-cv-02004-RFB-DJA Document 33 Filed 05/11/21 Page 3 of 5



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 3                                                 Facsimile: (702) 362-2203
 4                                                 Email: gschnitzer@ksjattorneys.com
 5                                                 Designated Attorney for Personal
 6                                                 Service
 7
 8
 9                                 PROOF OF SERVICE
10
          I, Kristie L. Fischer, hereby state that on May 11, 2021 I served a copy of
11 the foregoing pleading upon all counsel of record via the ECF System.
12
13                                                 /s/ Kristie L. Fischer
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     115807807v1                               3
       Case 2:20-cv-02004-RFB-DJA Document 33 Filed 05/11/21 Page 4 of 5



 1                     IN THE UNITED STATES DISTRICT COURT
 2                          FOR THE DISTRICT OF NEVADA
 3 Cynthia Green,
 4
                      Plaintiff,                     Case No.: 2:20-cv-02004-RFB-DJA
 5
 6           vs.
 7 Equifax Information Services, LLC, et al.,
 8
                 Defendants.
 9
10
                            ORDER OF DISMISSAL
11           WITH PREJUDICE AS TO DEFENDANT ALLY FINANCIAL, INC
12
             The Court, having reviewed the parties’ stipulation, and finding good cause
13
14 shown;
15
             IT IS HEREBY ORDERED that Plaintiff’s claims against Defendant Ally
16
17 Financial Inc., are hereby dismissed with prejudice and without fees or costs to either
18 party. The Clerk of the Court shall terminate Ally Financial Inc., as a party in this
19
   action and remove its attorneys of record from receiving ECF Notifications.
20
21
     Date: _____________                             ______________________________
22                                                   Judge of United States District Court
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24
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27
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              Case 2:20-cv-02004-RFB-DJA Document 33 Filed 05/11/21 Page 5 of 5




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